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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                              ELECTRONICALLY FILED
 KENNETH FERENCE,

               Plaintiff,
                                              No. 2:22-cv-00797-NR-MPK
        vs.
                                              District Judge J. Nicholas Ranjan
                                              Magistrate Judge Maureen P. Kelly
 ROMAN CATHOLIC DIOCESE OF
 GREENSBURG and AQUINAS
 ACADEMY,
                                              JURY TRIAL DEMANDED
               Defendants.

    RULE 12(b)(6) MOTION TO DISMISS FIRST AMENDED COMPLAINT

      AND NOW comes Defendant Roman Catholic Diocese of Greensburg (“Diocese”)

and Defendant Aquinas Academy (“Aquinas” and when collectively referred to with

Diocese, “Defendants”) through their counsel, Bernard P. Matthews, Jr., Esquire and

Alexander W. Brown, Esquire, of Meyer, Darragh, Buckler, Bebenek & Eck, P.L.L.C. and

Philip J. Murren, Esquire, David R. Dye, Esquire, and Katherine M. Fitz-Patrick, Esquire

of Ball, Murren & Connell, LLC, and files this Rule 12(b)(6) Motion to Dismiss

First Amended Complaint.

      1.      Mr. Ference brought a two-count first amended complaint against

Defendants contending that they violated Title VII of the Civil Rights Act of 1964 and the

Pennsylvania Human Relations Act (“PHRA”) by terminating him from his employment

as a schoolteacher at Aquinas, a private Catholic school, due to his sexual orientation.

(ECF No. 42 Prelim. Statement.)

      2.      Mr. Ference’s first amended complaint fails to state a claim upon which

relief can be granted as to Title VII and the PHRA, requiring the entire first amended

complaint to be dismissed with prejudice. Fed. R. Civ. P. 12(b)(6).
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       3.     This is because Defendants’ purpose is inculcating Catholic views upon

children enrolled at Aquinas, including that marriage is between only a man and a

woman, and Mr. Ference’s decision to enter into a same-sex marriage is contrary to

Defendants’ views on marriage.

       4.     Defendants have a First Amendment right, as recently confirmed by the

Supreme Court in 303 Creative LLC v. Elenis, of expressive association.

       5.     Defendants’ First Amendment right of expressive association includes their

right to not be associated with individuals like Mr. Ference, whose views on marriage

contradict those held by Defendants.

       6.     Mr. Ference’s presence at Aquinas as a teacher in a same-sex marriage

diluted Defendants’ ability to inculcate their views on marriage to Aquinas’s students.

       7.     Thus, Defendants’ termination of Mr. Ference was lawful under the

First Amendment, notwithstanding any provisions or interpretations of Title VII and the

PHRA.

       8.     Defendants’ contemporaneously filed brief supporting this Rule 12(b)(6)

motion is hereby incorporated as if fully stated herein.

       9.     Also incorporated herein is a contemporaneously filed certificate of

compliance with the Court’s Rule 12(b) motion meet and confer requirement.

       10.    Exhibits A–D to Diocese’s contemporaneously filed brief supporting this

Rule 12(b)(6) motion are incorporated as if fully stated herein.

       11.    Certificates of service with this Rule 12(b)(6) motion to dismiss and

Diocese’s contemporaneously filed brief supporting this Rule 12(b)(6) motion to dismiss

are incorporated as if fully stated herein.



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      12.    A contemporaneously filed proposed order is also incorporated as if fully

stated herein.

Respectfully submitted,

MEYER, DARRAGH, BUCKLER,                      BALL, MURREN & CONNELL, LLC
BEBENEK & ECK, P.L.L.C.

/s/ Bernard P. Matthews, Jr., Esq.            /s/ Philip J. Murren, Esq.
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